
PER CURIAM
*431*224Appellant seeks reversal of a judgment committing her to the custody of the Mental Health Division for a period not to exceed 180 days. ORS 426.130. Appellant contends that the trial court plainly erred by failing to advise her of all the possible results of the proceedings as required by ORS 426.100(1)(c), including the possibility of conditional release or voluntary treatment. The state concedes that, under State v. M. M. , 288 Or. App. 111, 114-16, 405 P.3d 192 (2017), and State v. M. S. R. , 288 Or. App. 156, 157, 403 P.3d 809 (2017), the trial court committed plain error that warrants reversal. We agree with the state, accept the concession, and, for the reasons stated in those cases, exercise our discretion to correct the error. Because we reverse the judgment on that basis, we do not address appellant's first assignment of error.
Reversed.
